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                  NOTICE OF APPEARANCE FOR SUBSTITUTE, ADDITIONAL, OR AMICUS COUNSEL



Short Title: United States of America v. Margolies                                          Docket No.: 23-370

Substitute, Additional, or Amicus Counsel’s Contact Information is as follows:

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Appearance for: United States of America/Appellee
                                                            (party/designation)
Select One:
G Substitute counsel (replacing lead counsel:                                                                                 )
                                                            (name/firm)

G Substitute counsel (replacing other counsel:                                                                                )
                                                            (name/firm)

G Additional counsel (co-counsel with: Danielle Renee Sassoon/U.S. Attorney's Office for the Southern District of New York
✔                                                                                                                             )
                                                            (name/firm)

G Amicus (in support of :                                                                                                     )
                                                            (party/designation)



                                                      CERTIFICATION
I certify that:

 G I am admitted to practice in this Court and, if required by Interim Local Rule 46.1(a)(2), have renewed
 ✔

my admission on                                                                                                              OR

G I applied for admission on                                                                                                  .



Signature of Counsel: /s/ Nathan Rehn

Type or Print Name:
